 DATE      TIME       EVENT                                    EXHIBIT  A TO DECLARATION
                                                                   Election               OF GARY
                                                                                     REFERENCE        SIMS
                                                                                               (N.C. GEN. STAT.)     RULE

                      Standard deadline to file notice of candidacy
2/29/16               if seeking party primary nomination for any 2016 Gen              163-106(c)                   The last business day in February preceding the primary.
                      county office
                      Deadline to file petitions with the Wake
                      County Board of Elections to have name
6/24/16    12:00 PM                                                 2016 Gen            163-122                      The last Friday in June preceding the general election.
                      included on general election ballot as
                      unaffiliated candidate for county election
                      Write-in Candidacy Petition Deadline -
07/26/16   5:00 PM    deadline to have signatures verified by       2016 Gen            163-123                      15 days before the date petition is due to be filed with the State Board of Elections
                      county board
                                                                                                                     105 days prior to the next election that the new precinct boundaries will be in
07/26/16              Deadline to Submit Precinct Change Proposal 2016 Gen              163-132.3
                                                                                                                     effect.

07/31/16              Publication of UOCAVA Election Notice          2016 Gen           163-258.16                   Not later than 100 days before election day


                      Deadline for Unaffiliated Presidential
08/05/16   12:00 PM                                                  2016 Gen           163-209                      No later than 12:00 noon on the first Friday in August of presidential election year
                      Candidate to provide VP name for ballot

                      Verified Write-in Candidacy Petition Deadline
08/10/16   12:00 PM                                                 2016 Gen            163-123                      90 days before the general election date in even-numbered years
                      - State Board of Elections Contests

                      Write-in Candidacy Petition Deadline -
08/10/16   12:00 PM                                                  2016 Gen           163-123                      90 days before the general election date in even-numbered years
                      County Board Contests
                      Party Nominee's right to withdraw as
09/09/16                                                             2016 Gen           163-113                      No later than the date absente ballots become available
                      candidate
                      Absentee Voting - Date By Which Absentee
09/09/16                                                             2016 Gen           163-227.3(a) &163-258.9      60 days prior to a statewide general election
                      Ballots Must be Available

09/24/16              Notice of Precinct/Voting Place Change         2016 Gen           163-128(a)                   45 days prior to next primary or election

09/24/16              Publish legal notice of any special election   2016 Gen           163-287                      45 days prior to the special election date

                                                                                                                     Publish weekly during the 20 day period before the voter registration deadline.
09/24/16              Publish Election Notice 1                      2016 Gen           163-33(8)
                                                                                                                     (Start 21 days before deadline)
09/24/16              Mail Second Incomplete Notice                  2016 Gen           163-82.4(e)                  Within 45 days of the date of a general election
                                                                                                                     Publish weekly during the 20 day period before the voter registration deadline.
09/30/16              Publish Election Notice 2                      2016 Gen           163-33(8)
                                                                                                                     (Start 21 days before deadline)
                                                                                                                     Publish weekly during the 20 day period before the voter registration deadline.
10/07/16              Publish Election Notice 3                      2016 Gen           163-33(8)
                                                                                                                     (Start 21 days before deadline)
                      Last day to mail notice of polling place
10/09/16                                                             2016 Gen           163-128                      No later than 30 days prior to the primary or election
                      changes.
                      Notification to Voters of Precinct/Voting
10/09/16                                                             2016 Gen           163-128(a)                   30 days prior to the primary or election
                      Place Change
10/14/16   5:00 PM    Voter Registration Deadline                    2016 Gen           163-82.6(c)                  25 days before the primary or election day
                      Voter Challenge Deadline - last day to
10/14/16                                                             2016 Gen           163-85                       No later than 25 days before an election.
                      challenge before Election Day

                      Voter Registration Deadline - Exception for
10/19/16              missing or unclear postmarked forms or         2016 Gen           163-82.6(c) ; 163-82.6(c1)   No later than 20 days before the election
                      forms submitted electronically by deadline

10/27/16              Absentee One Stop Voting Begins                2016 Gen           163-227.2(b)                 Not earlier than the second Thursday before an election
                      Last day to request an absentee ballot by
11/01/16   5:00 PM                                                   2016 Gen           163-230.1(a)                 Not later than 5:00 p.m. on the Tuesday before the election
                      mail.
                      Late absentee requests allowed due to                                                          After 5:00 p.m. on the Tuesday before the election but not later than 5:00 p.m. on
11/01/16   5:00 PM                                                   2016 Gen           163-230.1(a1)
                      sickness or physical disability                                                                the day before the election.
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 DATE      TIME       EVENT                                      EXHIBIT  A TO DECLARATION
                                                                     Election               OF GARY
                                                                                       REFERENCE        SIMS
                                                                                                 (N.C. GEN. STAT.)        RULE

11/03/16   10:00 AM   Election Day Observer/Runner List Due           2016 Gen            163-45(b)                       By 10:00 a.m. on the 5th day prior to Election Day

11/05/16   1:00 PM    Absentee One Stop Voting Ends                   2016 Gen            163-227.2(b)                    Not later than 1:00 p.m. on the last Saturday before the election
11/07/16   5:00 PM    UOCAVA Voter Registration Deadline              2016 Gen            163-258.6                       No later than 5:00 p.m. on the day before election day.

11/07/16   5:00 PM    UOCAVA Absentee Ballot Request Deadline         2016 Gen            163-258.7                       No later than 5:00 p.m. on the day before election day.

11/08/16   5:00 PM    Civilian Absentee Return Deadline               2016 Gen            163-231(b)(1)                   Not later than 5:00 p.m. on day of the primary or election
                      Begin Counting Absentee Ballots (Cannot
11/08/16   5:00 PM                                                    2016 Gen            163-234                         5:00 p.m. on election day unless an earlier time was set by resolution
                      announce before 7:30 p.m.)
                      Distribute Election Day Absentee Abstract to
11/08/16                                                              2016 Gen            163-234(6)                      Election Day
                      SBOE
                      UOCAVA absentee ballot return deadline -
11/08/16   7:30 PM                                                    2016 Gen            163-258.10                      Close of polls on Election Day
                      electronic

11/08/16   12:00 PM   Period to challenge an absentee ballot          2016 Gen            163-89                          No earlier than noon or later than 5:00 p.m. on Election Day

11/08/16   6:30 AM    ELECTION DAY                                    2016 Gen            163-1                           Tuesday after the first Monday in November

11/09/16              Sample Audit Count - Precincts Selection        2016 Gen            163-182.1(b)(1)                 Within 24 hours of polls closing on Election Day

                      Civilian Absentee Return Deadline - Mail                                                            If postmarked on or before election day and received not later than three days after
11/14/16   5:00 PM                                                    2016 Gen            163-231(b)(2)
                      Exception                                                                                           the election

                      Deadline for provisional voters subject to
11/17/16   12:00 PM                                                   2016 Gen            163-166.13; 163-182.1A(c)       Not later than 12:00 noon the day prior to the time set for the county canvass.
                      VIVA ID to provide ID to county board

                      UOCAVA Absentee Ballot Return Deadline -
11/17/16   5:00 PM                                                    2016 Gen            163-258.12                      By end of business on the business day before the county canvass.
                      Mailed
11/18/16   11:00 AM   County Canvass                                  2016 Gen            163-182.5(b)                    10 days after statewide general election

11/18/16              Mail Abstract to State Board of Elections       2016 Gen            163-182.6                       10 days after statewide general election

                      Deadline for election protest concerning
11/18/16                                                              2016 Gen            163-182.9(b)(4)a                Before the beginning of the county canvass
                      votes counted or tabulation of results

                      Deadline for candidates in CBE jurisdictional
11/21/16   5:00 PM                                                    2016 Gen            163-182.7(b)                    5:00 p.m. on the first business day after the canvass
                      contests to request recount

                      Deadline for candidates in SBOE jurisdictional
11/22/16   5:00 PM                                                   2016 Gen             163-182.7(c); 163-182.4(b)(5)   5:00 p.m. on the second business day after the canvass
                      contests to request recount

                      Deadline to file election protest concerning
                      manner in which votes were counted or
11/22/16   5:00 PM                                                  2016 Gen              163-182.9(b)(4)b                5:00 p.m. on the second business day after the county canvass
                      results were tabulated and there is cause for
                      delay in filing

                      Deadline to file election protest concerning
11/22/16   5:00 PM    any other irregularity than votes or            2016 Gen            163-182.9(b)(4)c                5:00 p.m. on the second business day after the county canvass
                      tabulation of results

                      CBE issues certificates of nomination or                                                            Six days after the county canvass (In a Municipal Election, the rule is no earlier than
11/28/16                                                              2016 Gen            163-182.15(a); 163-301
                      election if no protest is pending                                                                   5 days and no later than 10 days after the certification of the election.)

11/29/16              State Canvass                                 2016 Gen              163-182.5(c)                    11:00 a.m. on the Tuesday three weeks after election day.
                      SBOE Issues Certification of Nomination or
12/05/16                                                            2016 Gen              163-182.15                      6 days after the State Canvass
                      Election
                      Report Results by Voting Tabulation Districts
01/07/17                                                            2016 Gen              163-132.5G                      No later than 60 days after Election Day
                      (VTD)

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